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            Exhibit 4
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Adel Bin Mohammed Albarran
Law Firm
License number: 110/34

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CERTIFICATE OF ACCURACY

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I, Victoria Vaile, Translation Manager for Nova Languages, Inc., being duly sworn, hereby certiff that
Mohanned Khallof is a translator affiliated with Nova Languages, lnc., a corporate member of the American
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And that he translated the following document from the Arabic language to the English language.
The translation was proofread and reviewed and is accurate to the best of my knowledge and belief.

3-8-19 WAMY Lawyer Letter to AI Riyadh Bank




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Sworn to before me this
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Lday rf ,W                              ofzolf

                                                                          Notary

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